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       Case 2:04-cv-09049-DOC-RNB Document 3818-5 Filed 05/27/08 Page 2 of 60 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-5 Filed 05/27/08 Page 3 of 60 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-5 Filed 05/27/08 Page 4 of 60 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-5 Filed 05/27/08 Page 8 of 60 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-5 Filed 05/27/08 Page 10 of 60 Page ID
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